
USCA1 Opinion

	










                            United States Court of Appeals
                                For the First Circuit

                                 ____________________


        No. 96-1182

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                   ROBERT VOCCOLA,

                                Defendant, Appellant.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND

                         [Mary M. Lisi, U.S. District Judge]
                                        ___________________

                                 ____________________

                                        Before

                                Boudin, Circuit Judge,
                                        _____________

                            Bownes, Senior Circuit Judge,
                                    ____________________

                              and Lynch, Circuit Judge.
                                         _____________

                                 ____________________

            David L. Martin for appellant.
            _______________
            Sheldon Whitehouse, United  States Attorney for Rhode Island,  for
            __________________
        appellee.

                                 ____________________
                                   November 5, 1996
                                 ____________________























                      BOWNES, Senior Circuit Judge.   Defendant-appellant
                      BOWNES, Senior Circuit Judge.
                              ____________________

            raises  three  issues in  this appeal.    They are:   (1) the

            denial of  defendant's motion  for recusal of  the sentencing

            judge;  (2)  whether  the  district court  clearly  erred  in

            increasing defendant's  sentencing level for his  role in the

            offense; and (3) whether the district judge clearly  erred in

            finding that defendant obstructed justice.  We affirm.

                                      Background
                                      Background
                                      __________

                      A   grand  jury   returned   a  twenty-four   count

            indictment charging defendant,  Robert Voccola, his  brother,

            Edward Voccola, and one  of Edward's employees, Roger Cavaca,

            with  an extensive  scheme  of  automobile  insurance  fraud.

            Count one of  the indictment charged  each of the  defendants

            with  a federal  racketeering  violation, 18  U.S.C.    1962;

            counts two through  twenty-three charged each defendant  with

            federal  mail fraud  in violation  of 18  U.S.C.    1341, and

            aiding and abetting mail fraud in violation of 18 U.S.C.   2;

            count  twenty-four charged  co-defendant Edward  Voccola with

            obstruction of justice in violation of 18 U.S.C.   1503.

                      Defendant Robert Voccola pled guilty to counts two,

            four, five, and twenty of the indictment, co-defendant Edward

            Voccola pled guilty to  count one of the indictment,  and co-

            defendant  Roger Cavaca  pled  guilty to  counts three,  six,

            seventeen, and nineteen of the indictment.





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                      Further facts bearing on the sentencing issues will

            be stated when we discuss those issues.  

                                       RECUSAL
                                       RECUSAL

                                      The Facts
                                      The Facts
                                      _________

                      The facts  on which  the recusal motion  was based,

            although somewhat lengthy and convoluted, are not disputed.

                      The  district  judge, Hon.  Mary  M.  Lisi, held  a

            chambers   conference  prior  to   the  scheduled  sentencing

            hearing.  During the  conference, she expressed concern about

            financial  information furnished  by  defendant for  the pre-

            sentence  report.   She  questioned how  the defendant  could

            cosign  a loan for his  son when he  had listed approximately

            $100,000 in unpaid debts  on his personal financial statement

            and had submitted affidavits to the court claiming indigency.

            Defendant's  sentencing  was,  therefore, continued  so  that

            additional  financial information could  be obtained.   After

            the conference,  defendant alleges that he  realized, for the

            first time, that  the district judge served as  a member of a

            state commission  investigating the financial activities of a

            number  of   persons  and  corporations,  one   of  whom  was

            defendant.

                      Some background  facts are now necessary.   In 1991

            the  Rhode Island Depositors  Economic Protection Corporation

            (DEPCO) was  created to address  the problems arising  from a

            financial  crisis in Rhode Island.   The crisis was triggered



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            by  the failure of numerous  banks and credit  unions, all of

            which were insured by  a private insurance fund --  the Rhode

            Island Share  and Depositors Indemnity  Corporation (RISDIC),

            which also failed.   The unpaid debts of defendant  listed on

            the pre-sentence report were owed to DEPCO.

                      The state  commission on which the  judge served as

            an  appointee of the governor, before she became a judge, was

            the Select  Commission to  Investigate the Failure  of RISDIC

            Insurance Financial Institutions.    She took an active  role

            in the commission's investigation of the cause of the failure

            of  the banks, the credit unions, and RISDIC.  The commission

            held hearings,  questioned witnesses, and  subpoenaed records

            during the  course of its investigation,  which lasted nearly

            two years.  In December 1992, the commission issued a report,

            recommending in effect that  DEPCO take appropriate action to

            resolve the crisis.   Legal action  to recover loan  proceeds

            was one of the specific recommendations.  The commission made

            its  findings  and  the  evidence  adduced  at  the  hearings

            available  "to   law  enforcement  agencies,  DEPCO  and  the

            receivers of  RISDIC institutions  so that they  could pursue

            criminal and civil  action."  Report of  Select Commission to

            Investigate Failure of RISDIC,  at 2  (1992).   Defendant was

            not named or identified in any of this material.

                      On October  3, 1994,  Edward D. Pare,  receiver for

            the  Rhode Island Central Credit  Union, which was insured by



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            RISDIC,  sued defendant  and his  wife for  failure to  pay a

            promissory note for $105,000  owed to the credit union.   The

            note  was secured  by  a mortgage  on a  yacht  -- the  Bella

            Famina.   An in rem  proceeding against the  boat was brought
                         __ ___

            together with an in personam action against defendant and his
                             __ ________

            wife.  Judge Lisi handled this case.   The in personam action
                                                       __ ________

            was terminated by  default.  Neither  defendant nor his  wife

            appeared at any hearing.

                      Defendant has  produced  no evidence  or  made  any

            allegations  that the  district  judge gained  any  knowledge

            about  defendant  personally  and/or  his  financial  affairs

            during the course of her service on the state commission.

                      After a  hearing on  the motion to  disqualify, the

            court stated:

                         Let me deal right now  with the Motion
                      to Disqualify.

                         Mr. Martin,  I certainly do  not fault
                      you for bringing such  a motion.  I think
                      it's  absolutely within  your prerogative
                      and certainly if  it is in  your client's
                      best  interest  to do  so, that  you file
                      such  a  motion.     I  think  that   the
                      impartiality of the Court is the sine qua
                      non  of our  justice  system.   It is  an
                      issue  that  I   believe  I  am   acutely
                      sensitive of.   And  so, I  have reviewed
                      with  great care the motion that you have
                      filed as well  as all of the  appendices,
                      although  I  must  admit that  I  did not
                      reread  the entire  report of  the RISDIC
                      Commission  which  you  have appended  to
                      your motion.

                         Let me  just say  that  you are  quite
                      correct in asserting  that I served as  a


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                      member  of the  colloquially-known RISDIC
                      Commission  for some  two years  and that
                      the purpose  of  that commission  was  to
                      investigate the reasons  for the  failure
                      of RISDIC  and ultimately the  closure of
                      some  45   financial  institutions  which
                      affected  approximately one-third  of the
                      population of this  state; the effects of
                      which continue to affect the taxpayers of
                      this state.

                         In  any event,  as your  motion points
                      out, this Defendant was  never identified
                      by name  anywhere in the  reports, public
                      hearings or other materials  generated by
                      that  commission.   And quite  frankly, I
                      never  heard your  client's name  until I
                      came  to this  Court.    And perhaps  the
                      first time  I ever heard his  name was in
                      connection with the  other case you cite,
                      which I did preside over, and that is the
                      in rem action  against the BELLA  FAMINA,
                      which apparently  was a motor  boat owned
                      by  the Defendant  and his  wife.   And I
                      believe  that that action likewise was an
                      in  personam  action against  Mr. Voccola
                      and his wife.  

                         As  you correctly  point  out in  your
                      memo,  that action  terminated as  to the
                      Defendant and his wife by default.   It's
                      my recollection that  neither Mr. or Mrs.
                      Voccola  answered  the  Complaint.    The
                      hearing that you  reference taking  place
                      with respect to  that action, I  can tell
                      you, dealt solely  with the claim of  the
                      substitute custodian who was  looking for
                      more  money than  the marshal  thought he
                      was entitled to.  And that the Defendant,
                      nor his wife, nor anyone on their  behalf
                      even appeared at any such hearing.

                         The case law which both Mr. Martin and
                      the  Government  cite  indicates to  this
                      Court that any charge of  partiality must
                      be supported by a factual basis; that the
                      movant cannot simply  rely on  conclusory
                      allegations  or  innuendo.   And further,
                      that disqualification is appropriate only
                      if the  facts provide what  an objective,


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                      knowledgeable member of the  public would
                      find  to   be  a  reasonable   basis  for
                      doubting the judge's partiality.   That's
                      the test  in the First Circuit  on a 455A
                      request.

                         I  have  weighed   the  exhibits   and
                      information you've provided in your memo.
                      And I have, in so weighing that evidence,
                      stepped away from the bench and  into the
                      shoes  of  that knowledgeable,  objective
                      person  in the street.  And I come to the
                      conclusion that there is no evidence that
                      would  point to  a lack of  partiality on
                      behalf of this Court.

                         Instead, my concern is that the motion
                      having been  filed this late in  the game
                      after that chambers conference  wherein I
                      addressed to both  you and the Government
                      my skepticism, if you will,  or questions
                      as to the financial information which had
                      been  provided --  the DEPCO  part  of it
                      aside -- how does one -- and I think that
                      this is  a plausible  question.   I don't
                      think  that   the  Sentencing  Commission
                      expects   judges   to  review   financial
                      information    provided    to   make    a
                      determination  as to  whether or  not the
                      Defendant is  capable of paying a fine --
                      to simply accept  whatever we're  handed.
                      I   would   hope   that  the   Sentencing
                      Commission would expect us  to scrutinize
                      that information to make  a determination
                      as  to the  Defendant's ability to  pay a
                      fine.

                         And when I see that the  Defendant, in
                      a  1994 tax return,  reports zero income,
                      yet is able to sign a loan for his son to
                      buy  a $23,000  car, is  able to  lease a
                      1995 Lincoln Continental, it does raise a
                      question in my mind  as to whether or not
                      the information provided to  Probation is
                      correct.   And as  I said in  December, I
                      had those questions, I wanted answers and
                      I  wanted  to  give the  Defendant  ample
                      opportunity,  not  only  to  provide  the
                      additional information, but to prepare an
                      explanation since one would be requested.


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                         All of that having been said, I do not
                      believe  that you  have  met your  burden
                      under  Section 455.   And the  Motion for
                      Disqualification is denied.

                                      Discussion
                                      Discussion
                                      __________

                      Defendant's recusal motion is  based on 28 U.S.C.  

            455(a), which states:

                      Any justice, judge, or magistrate  of the
                      United States shall disqualify himself in
                      any proceeding in which  his impartiality
                      might reasonably be questioned.

            Defendant's  claim that  the  district judge's  "impartiality

            might reasonably be  questioned" is  based on  three sets  of

            facts:

                      (1) the judge presiding over his criminal
                      case had previously served as a member of
                      an investigative commission, a commission
                      charged with  examining improprieties and
                      fraud in financial institutions;  (2) the
                      judge,  as  a member  of  the commission,
                      recommended     criminal    and     civil
                      prosecutions  of individuals  who engaged
                      in fraudulent  business transactions with
                      these  failed  institutions; and  (3) the
                      defendant had in fact borrowed money from
                      one  of the failed institutions and later
                      been sued by the receiver for fraud.

            Brief for Appellant at 5-6.

                      The case law fleshes out the bare-bone words of the

            statute.  At the outset of our case law analysis we note that

            a guilty plea  does not bar a recusal motion.   United States
                                                            _____________

            v. Chantal, 902 F.2d 1018, 1020-21 (1st Cir. 1990).
            __________

                      The test in this  circuit for determining whether a

            judge's impartiality might  reasonably be questioned  is long



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            established.  The standard stated in United States v. Cowden,
                                                 _______________________

            545 F.2d  257, 265 (1st Cir.  1976),  cert.  denied, 430 U.S.
                                                  _____  ______

            909 (1977), is the one we follow:

                      [w]hether   the   charge   of   lack   of
                      impartiality  is  grounded on  facts that
                      would    create   a    reasonable   doubt
                      concerning the  judge's impartiality, not
                      in the mind of  the judge himself or even
                      necessarily  in the mind  of the litigant
                      filing the motion under  28 U.S.C.   455,
                      but  rather in the mind of the reasonable
                      man.

            See  also  Town of  Norfolk v.  United  States Army  Corps of
            ___  ____  __________________________________________________

            Eng'rs, 968 F.2d 1438, 1460 (1st Cir. 1992); United States v.
            ______                                       ________________

            Lopez,  944 F.2d  33, 37  (1st Cir.  1991); United  States v.
            _____                                       _________________

            Martorano, 620  F.2d 912, 919  (1st Cir.), cert.  denied, 449
            _________                                  _____  ______

            U.S. 952 (1980).

                      There are two additional considerations in weighing

            a  claim of  impartiality.   First, there  must be  a factual

            basis  for the  claim that  there  appears to  be  a lack  of

            impartiality.    Lopez,  944  F.2d at  37;  United  States v.
                             _____                      _________________

            Giorgi, 840 F.2d  1022, 1035 (1st Cir. 1988).   And second, a
            ______

            decision  not  to  recuse  is  reviewed  only  for  abuse  of

            discretion.    Lopez, 944  F.2d  at  37; Panzardi-Alvarez  v.
                           _____                     ____________________

            United  States, 879  F.2d  975, 984  (1st  Cir. 1989),  cert.
            ______________                                          _____

            denied, 493 U.S. 1082 (1990).
            ______

                      These are the general rules  that apply.  There are

            cases factually analogous to the one at bar.  For example, in

            United States v. Giorgi, 840 F.2d at 1035, we held:
            _______________________



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                      Although  the  knowledge  of a  defendant
                      gained during a  judicial proceeding  may
                                                            ___
                      present grounds for  a reasonable  person
                      to question a  judge's impartiality,  see
                                                            ___
                      Blizard v. Frechette, 601 F.2d 1217, 1220
                      ____________________
                      (1st Cir. 1979) (citation  omitted), mere
                      exposure to  prejudicial information does
                      not, in itself,  establish the  requisite
                      factual  basis:   "[T]he  judicial system
                      could not function  if judges could  deal
                      but once  in their lifetime with  a given
                      defendant, or had to withdraw from a case
                      whenever they had  presided in a  related
                      or  companion case or in a separate trial
                      in the  same case."  Cowden,  545 F.2d at
                                           ______
                      266  (citations  omitted).   And  we have
                      held that unless a party can  establish a
                      reasonable  factual  basis  to   doubt  a
                      judge's  impartiality  "by  some kind  of
                      probative  evidence,"  then a  judge must
                                                           ____
                      hear  a case  as assigned.   Blizard, 601
                                                   _______
                      F.2d at 1221 (citation omitted).

            In In Re Cooper, 821 F.2d 833, 844 (1st Cir. 1987), we noted:
               ____________

            "Judges are not disqualified  from trying defendants of whom,

            through prior judicial proceedings,  they have acquired a low

            view."  

                      We end our case law analysis by quoting from Liteky
                                                                   ______

            v.  United States, 510 U.S.  540 (1994).   In Liteky, Justice
            _________________                             ______

            Scalia, writing  for the  majority, explicated in  detail the

            history  of  the  recusal doctrine.    Id.  at  543-51.   The
                                                   ___

            question  in Liteky  was whether  recusal under  28  U.S.C.  
                         ______

            455(a) was  subject to  the limitation of  the "extrajudicial

            source" doctrine.  The Court held that the doctrine did apply

            to   455(a).  Id.  at 554.  In the course of  the opinion the
                          ___

            Court stated:




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                      Also    not   subject    to   deprecatory
                      characterization as "bias" or "prejudice"
                      are  opinions held by  judges as a result
                      of   what   they   learned   in   earlier
                      proceedings.   It has long  been regarded
                      as normal  and proper for a  judge to sit
                      in the same case  upon its remand, and to
                      sit  in  successive trials  involving the
                      same defendant.

            Id. at 551.
            ___

                      As  to defendant's  contention  that  Judge  Lisi's

            prior participation on the investigative  commission requires

            recusal,  we find the  connection between  such participation

            and defendant's criminal case to be  too attenuated to create

            a reasonable doubt concerning the judge's impartiality in the

            mind of the reasonable man.  The commission did  not focus on

            this particular case  or on this  particular defendant.   Cf.
                                                                      ___

            United  States  v.  Payne,  944 F.2d  1458  (9th  Cir.  1991)
            _________________________

            (finding that judge's prior service on pornography commission

            did not require recusal from child molestation case).

                      Applying the legal principles to the facts asserted

            as a basis  for recusal, it is obvious to  us that Judge Lisi

            quite properly denied the motion for her recusal.

                                THE SENTENCING APPEALS
                                THE SENTENCING APPEALS

                      We  turn  now  to  defendant's  challenges  to  the

            district  court's  upward   adjustments  under  the   Federal

            Sentencing Guidelines  for (i)  his role  in the  offense and

            (ii)  obstruction of  justice.   First,  we  provide a  brief

            statement of the law relevant to appellate review of district



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            court  determinations  to make  upward adjustments  under the

            Guidelines.   "When we review a  district court's application

            of a  sentencing guideline, we utilize  a bifurcated process.

            First we review  the guideline's legal  meaning and scope  de
                                                                       __

            novo.   Next, we  review the  court's fact-finding  for clear
            ____

            error, giving due deference to the court's application of the

            guidelines to the facts."  United States v. Mitchell, 85 F.3d
                                       _________________________

            800, 813  (1st Cir. 1996)(quoting United  States v. Thompson,
                                              __________________________

            32 F.3d  1, 4 (1st Cir.  1994)).  Cf. Koon  v. United States,
                                              ___ ______________________

            116  S.  Ct.  2035  (1996) (departures  from  the  Guidelines
                                        __________

            reviewed under  abuse of  discretion standard, id.,  at 2043,
                                                           ___

            which includes  review "to determine that  the discretion was

            not guided  by erroneous  legal  conclusions."   Id. at  2048
                                                             ___

            (emphasis added)).

                      We  consider the facts as they are set forth in the

            unobjected-to portions of the Presentence Report  ("PSR") and

            the  sentencing hearing  transcript.   See  United States  v.
                                                   ___  _________________

            Cali,  87 F.3d  571, 573  (1st Cir.  1996); United  States v.
            ____                                        _________________

            Grandmaison, 77 F.3d 555, 557 (1st Cir. 1996).
            ___________

                                 Role in the Offense
                                 Role in the Offense
                                 ___________________

                      At sentencing, the district  court applied a three-

            level  enhancement  to  defendant's  sentence  based  upon  a

            finding that  defendant was a  "manager or supervisor"  of an

            extensive   scheme  under   the   United  States   Sentencing

            Guidelines ("U.S.S.G."),   3B1.1.  Because the details of the



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            insurance fraud scheme are  important to the determination of

            defendant's  "manager or supervisor"  status, we rehearse the

            relevant  facts.   Throughout the  course of  the automobile-

            insurance fraud  scheme, defendant  owned  and ran  Allandale

            Auto Body in Providence,  Rhode Island.  His brother  and co-

            defendant ran  another  auto  body  shop in  the  same  city.

            Although  there  were   occasional  variations,  each   false

            insurance claim generally followed  the same pattern.  First,

            an  individual would purchase  Massachusetts or  Rhode Island

            vehicle insurance with liability coverage only.  Usually only

            the  first  payment was  made  on  the automobile  insurance.

            Prior to the  second payment coming due,  an "accident" would

            take  place.   The  "accident"  always  occurred between  the

            insured vehicle and another  vehicle that was either already,

            or  soon  came  to  be,  in  the  possession  of  one of  the

            defendants' auto  body shops.  After  these staged accidents,

            the  defendants   would  file  insurance   claims  under  the

            insurance policies in order  to "repair" the "hit" car.   The

            two  body shops  used  the  same  damaged  cars  to  show  to

            different  insurance  appraisers  as  the car  "hit"  by  the

            insured   vehicle.      In  all,  there  were  at  least  six

            individuals involved in the fraud: defendant and his brother,

            Edward, his brother's employee, Mr. Cavaca, his employee, Mr.

            Christopher, defendant's  sister-in- law,  Ms. Ng, and  a Mr.

            Hubert.    



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                      As detailed  in the  PSR, defendant admitted  to at

            least  one  instance in  which  he  directed  the actions  of

            another in furtherance  of the fraud.  In his  own version of

            the events relating to a fraud in which his sister-in-law was

            involved,   he states that, "I told her what she should do; I

            told  her  to bring  her  car  to my  shop  and  to tell  her

            insurance company that she had hit a parked car.  I also told

            her to tell her  insurance company that the  car she had  hit

            was at [my brother's auto body shop]." 

                      In  deciding to  apply the  three-level enhancement

            for managerial  status, the  district judge stated,  "I think

            that  what is most telling  in this case  are the Defendant's

            own words .  . .  where the Defendant  himself describes  his

            directions  to  Ms. Ng."    The  court expressly  found  that

            "beyond  being  a   willing  participant,  he  directed   the

            transactions which make up  the underlying schemes to defraud

            the various victims in this case."  

                                      Discussion
                                      Discussion
                                      __________

                      Utilizing  the  bifurcated   review  process,   see
                                                                      ___

            Mitchell,  85 F.3d at 813, we first examine the legal meaning
            ________

            and scope  of the  Guideline applied  by the  district court.

            Sentencing Guideline   3B1.1 mandates  a three-level increase

            if "the defendant was a  manager or supervisor . . .  and the

            criminal activity  involved five or more  participants or was

            otherwise  extensive."  U.S.S.G    3B1.1.  The plain language



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            of  the  Guidelines  requires  that  a  two-step  process  be

            employed  when   determining   the  applicability   of   this

            enhancement.   First, the  criminal scheme  must be  found to

            have five  or more participants or  be "otherwise extensive."

            Id.  Second, the defendant must  be found to have managed  or
            ___

            supervised the scheme.   See United States v. Joyce,  70 F.3d
                                     ___ ______________________

            679, 682 (1stCir. 1995), cert. denied, 116S. Ct. 1556 (1996).
                                     _____ ______

                      As  an  initial  matter,  we note  that  the  first

            requirement  under this  Guideline  has been  met.   The  PSR

            conclusively shows  that there  were six participants  in the

            scheme.1   Defendant does not challenge  the district court's

            determination  on  this  issue.    The  crux  of  defendant's

            contention  lies  in    the  district  court's  finding  that

            defendant was a manager or supervisor of the illegal scheme.

                      The  legal meaning  and  scope of  the "manager  or

            supervisor"   role  under  the   Guidelines  has  been  given

            considerable attention by this court  in recent years.   See,
                                                                     ___

            Cali, 87 F.3d at  576-79.  Our decisions are  consistent: "we
            ____

            have  required 'some  degree  of  control  or  organizational

            authority  over  others'  to  support  a    section  3B1.1(b)

            adjustment."   Id.  at  578 (citation  omitted).   Therefore,
                           ___

            "[m]anagerial status .  . . attach[es]  if there is  evidence

            that a defendant, in  committing the crime, exercised control

                                
            ____________________

            1.  A participant is a  person who "is criminally responsible
            for the commission  of the  offense, but need  not have  been
            convicted."  U.S.S.G.   3B1.1, comment n.1.

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                                          15















            over,  or  was  otherwise  responsible   for  overseeing  the

            activities  of, at least one other person."  United States v.
                                                         ________________

            Savoie, 985 F.2d 612, 616 (1st Cir. 1993).  
            ______

                      The  district  court  was  correct  in  relying  on

            evidence of direction and control over others when making its

            decision to  apply the    3B1.1(b) enhancement.   There  was,

            therefore, no mistake  of law in the court's determination of

            the scope and legal meaning of   3B1.1(b).

                      We turn now to the district court's fact-finding on

            the issue.   Because "[t]he determination  of the defendant's

            role  in an offense is fact-specific," Joyce, 70 F.3d at 682,
                                                   _____

            we remain  "deferential to  the sentencing court's  views and

            review the determinations made  only for clear error."   Id. 
                                                                     ___

            Examining the  facts as set out  in the PSR, which  detail at

            least one instance in which the defendant expressly admits to

            managing the actions  of another in furtherance of the fraud,

            we can find no basis for assigning error, clear or otherwise,

            to the district court's determination.  As the district court

            pointed  out, by admitting to  directing Ms. Ng  on the finer

            points  of  the  fraudulent  activity,  defendant  in  effect

            acknowledged that he managed the  activities of "at least one

            other person" in the course of the illegal activity.  Savoie,
                                                                  ______

            985 F.2d at 616. 

                      The government "need only prove by a  preponderance

            of evidence that an  upward adjustment was warranted," Joyce,
                                                                   _____



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            70  F.3d   at  682   (citation  omitted),  and   when  making

            determinations  regarding a defendant's  role in the offense,

            "the sentencing court may look beyond the count of conviction

            to the whole of the defendant's pertinent conduct."  Id.   We
                                                                 ___

            find ample support for the district court's decision to apply

            the  three-level  enhancement.     We  note  that  additional

            evidence of  managerial status,  above and beyond  that which

            the district court expressly relied on at  sentencing, can be

            found in the PSR  to support a   3B1.1(b)  enhancement. These

            facts include  an admission  that he engineered  a fraudulent

            claim  for Mr.  Christopher,    as  well  as  the  fact  that

            defendant  owned one  of the  body shops  involved in  such a

            sophisticated scheme  of insurance fraud.   Evidence relating

            to a defendant's  role in  the offense may  be probative  "by

            fair inference."   United  States v. Tejada-Beltran,  50 F.3d
                               ________________________________

            105, 113 (1st. Cir  1995).  It would therefore  be reasonable

            for  the district  court to  have inferred,  from defendant's

            ownership  of one  of the  loci of  the criminal  activity, a

            certain  degree  of  managerial  control.   It  is  apparent,

            therefore, that enhancement by  three levels under   3B1.1(b)

            was proper.

                                Obstruction of Justice
                                Obstruction of Justice
                                ______________________

                      The   final   matter   in   this   appeal  concerns

            defendant's  challenge  to  the  district  court's  two-level

            upward  enhancement  under     3C1.1 of  the  Guidelines  for



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                                          17















            obstruction of  justice.  Under the  Guidelines, the sentence

            is  enhanced by  two  levels where  "the defendant  willfully

            obstructed or  impeded, or  attempted to obstruct  or impede,

            the  administration  of  justice  during  the  investigation,

            prosecution or sentencing of the instant offence."  U.S.S.G  

            3C1.1.  

                      The facts leading the court to apply the adjustment

            were  presented  at   the  sentencing  hearing  through   the

            testimony of Maureen Ng, the defendant's sister-in-law and an

            unindicted  co-conspirator in  the insurance  fraud.   Ms. Ng

            testified that  when  she was  first  contacted by  a  Postal

            Inspector, defendant advised her "not to speak to him and not

            to come to Rhode Island."   She also testified to  the effect

            that  defendant  advised her  not  to  answer the  door  when

            investigators were trying to serve a subpoena, and throughout

            the  investigation  defendant advised  her  "not  to talk  to

            anyone."  Finally, she  testified that defendant attempted to

            convince  her to  leave  the jurisdiction,  and  "go down  to

            Florida", in order to avoid the investigation.

                      At sentencing, the district court found as follows:

                      Based on the testimony of Ms. Ng, which I
                      find to  be credible,  I  find that  this
                      defendant    did   engage    in   conduct
                      obstructing      or     impeding      the
                      administration of  justice by counselling
                      and  directly  advising Ms.  Ng  to avoid
                      grand  jury  subpoenas, which  were being
                      served    in    connection    with    the
                      Government's    investigation    of   the
                      insurance  fraud  scheme  to  which  this


                                         -18-
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                      defendant has entered  a plea of  guilty;
                      that  Ms.  Ng's   acquiescence  and   the
                      Defendant  telling  her   to  avoid   the
                      subpoenas,   hindered   the  Government's
                      investigation for a  period of time while
                      she,  herself, admits  to hiding  her car
                      and   not  going   in   her   house   and
                      essentially   avoiding  service   of  the
                      subpoena  as she  was directed  to  do by
                      this Defendant.

            Tr. at  71.   Defendant challenges this  finding, basing  his

            appeal on  (i) the lack of evidence of any threat against the

            witness, and (ii)  the court's failure  to take into  account

            additional testimony  by Ms.  Ng which, in  defendant's view,

            would counsel against a   3C1.1 enhancement.

                                      Discussion
                                      Discussion
                                      __________

                      Little needs to be said regarding the legal meaning

            of    3C1.1.  The language of  the Guideline is clear enough;

            it  applies  where the  defendant  intentionally impedes,  or

            attempts  to  impede,  the   investigation  of  an   offense.

            Culpability under  the Guideline  is also applicable  where a

            defendant causes,  or attempts  to cause, the  obstruction of

            justice by a third  party.  The Application Notes  state that

            "[u]nder this  section, the defendant is  accountable for his

            own  conduct  and  for conduct  that  he  .  . .  counselled,

            commanded,  induced, procured, or willfully caused."  U.S.S.G

              3C1.1, note 7.  Clearly, conduct  such as that described by

            Ms.  Ng falls within  the scope of  the Guideline.   The only

            remaining basis for  reversal, therefore, is if it  was error

            for the district court to rely on Ms. Ng's testimony.


                                         -19-
                                          19















                      "Any  credibility  assessment  made  at  sentencing

            falls within  the  province of  the  district court,  and  it

            should  be   respected  on   appeal  unless  it   is  clearly

            erroneous."  Joyce,  70 F.3d at  682 (citation omitted);  see
                         _____                                        ___

            United States v. Indelicato, No. 95-1907, slip op. at 14 (1st
            ___________________________

            Cir.  Oct.  15, 1996).    We find  no error  in  the district

            court's  factual  determination  that   defendant  obstructed

            justice.   The evidence  presented by Ms.  Ng wholly supports

            the district court's  determination that defendant obstructed

            justice, and there is  nothing in the record to  suggest that

            the district court  was somehow  in error in  relying on  the

            testimony of Ms. Ng.  

                      We turn briefly to defendant's specific assignments

            of  error.  First, contrary to what defendant argues,   3C1.1

            does  not require the existence of threats in order to apply.

            A court may find  that defendant "obstructed  or  impeded" an

            investigation,  without  resorting  to  threats  to  obtain a

            witness's cooperation.  The  Application Notes are plain that

            a  wide range of conduct  will suffice to  properly enhance a

            sentence  for obstruction of justice.  U.S.S.G.   3C1.1, note

            3a.  

                      Second,  defendant argues  that the  district court

            erroneously ignored  testimony  suggesting that  he  was  not

            instructing Ms. Ng to obstruct the investigation or  to avoid

            the service of a subpoena, but rather, merely advising her of



                                         -20-
                                          20















            her right to preserve her Fifth Amendment right against self-

            incrimination.  But the  obstruction of justice adjustment is

            supported  by actions  of the  defendant irrespective  of any

            advice  about rights  under the  Fifth Amendment.   Defendant

            advised  Ms. Ng not to  answer the door  for the investigator

            trying to serve the subpoena and to go to Florida in order to

            avoid the  investigation.  Because "[t]he  facts constituting

            obstruction of  justice for sentencing purposes  need only be

            established  by  a  preponderance  of  the evidence,"  United
                                                                   ______

            States  v.  Thomas,  86  F.3d 263  (1st  Cir.  1996)(citation
            __________________

            omitted), defendant's challenge to the enhancement fails.

                      Affirmed.
                      Affirmed.
                      _________

                                                



























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